Case 9:22-mj-08332-BER Document 92 Entered on FLSD Docket 08/25/2022 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 22-MJ-8332-BER


  IN RE SEALED SEARCH WARRANT                                 FILED UNDER SEAL

  ____________ _                          /



                                 PROPOSED ORDER TO SEAL

         The United States of America, having applied to this Court for an Order sealing its Ex

  Parte Memorandum of Law Regarding Proposed Redactions, and the two exhibits to that

  Memorandum, and the Court finding good cause:

         IT IS HEREBY ORDERED that the Ex Parte Memorandum of Law Regarding

  Proposed Redactions, Exhibit A to that Memorandum, and Exhibit B to that Memorandum,

  and this Order shall be filed under seal until further order of this Court.

                                                                          25th day
         DONE AND ORDERED in chambers at Palm Beach County, Florida, this __

  of August, 2022 .




                                               UNITED STATES MAGISTRATE JUDGE
                                               SOUTHERN DISTRICT OF FLORIDA


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 Deliver copy to:
